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  Dated: May 04, 2019
  The following is SO ORDERED:


                                                 ________________________________________
                                                             David S. Kennedy
                                                 UNITED STATES CHIEF BANKRUPTCY JUDGE


  ____________________________________________________________




                             UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF TENNESSEE

In re:                                                      Chapter 13
MILLIE REE THOMAS
Debtor(s)                                                   Case No. 18-30407-K


                    ADMINISTRATIVE ORDER ALLOWING LATE FILED CLAIM


      It appearing to the Court that the Standing Chapter 13 Trustee has shown that
the following claim was filed after the bar date and that such claim was not
included in previous orders allowing claims herein:


NAME AND ADDRESS OF CREDITOR                                 AMOUNT      CLASSIFICATION

FCI LENDER SERVICES INC                                  $31,978.37   MORTGAGE ARREARAGE
PO BOX 27370
ANAHEIM, CA 92809-0112
                                                                      Claim Id: 1



      Your Trustee has examined the claim and recommends to the Court that it be
deemed allowed for the amount claimed and payable pursuant to the provisions of the
debtor's confirmed plan and other orders of this Court.

      Premises considered, the Court being of the opinion that the Trustee's motion
is well founded;
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      IT IS THEREFORE ORDERED that the above claim be allowed as has been
recommended by the Trustee and payable as provided by the debtor's plan and other
orders of this Court.
      2) That a copy of this Motion and Order be mailed to the debtor(s) and
debtor's attorney of record and that the debtor be given 30 days in which to object
to the allowance of the claim and, in the absence of such objection, this order
shall become final.


                                                            /S/George W. Stevenson
                                                            CHAPTER 13 TRUSTEE
CC:   George W. Stevenson
GWB
      MILLIE REE THOMAS
      4391 FORD ROAD
      MEMPHIS, TN 38109

      JIMMY MCELROY, ATTY
      3780 S MENDENHALL, #202
      MEMPHIS, TN 38115

      FCI LENDER SERVICES INC
      PO BOX 27370
      ANAHEIM, CA 92809-0112




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